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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     Kim Roseberry, individually and on behalf
     of all others similarly situated,                  Case No. 3:24-cv-2464

          Plaintiff,

     v.                                                 JURY TRIAL DEMANDED

     U.S. Dermatology Partners,

          Defendant.



                                    CLASS ACTION COMPLAINT
           Plaintiff Kim Roseberry (“Plaintiff”), individually and on behalf of all other similarly

situated individuals (the “Class Members,” as defined below), by and through her counsel, files

this Class Action Complaint against U.S. Dermatology Partners (“Defendant”) and alleges the

following based on personal knowledge of facts pertaining to herself and on information and belief

based on the investigation of counsel as to all other matters.

                                       SUMMARY OF ACTION

           1.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personally identifiable information (“PII”) of potentially millions of individuals.

           2.      Defendant “is one of the largest dermatology practices in the country, caring for

more than 2 million patients each year with other 100 locations across eight states including

Arizona, Colorado, Kansas, Maryland, Missouri, Oklahoma, Texas, and Virginia.” 1

           3.      In June of 2024, ransomware gang, BianLian, claimed responsibility for accessing




1
    See https://www.usdermatologypartners.com/about-us/
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and acquiring 300 GB organization data, including patients’ personal data (the “Data Breach”). 2

         4.     Plaintiff’s and Class Members’ sensitive personal information—which they

entrusted to Defendant on the mutual understanding that Defendant would protect it against

disclosure—was compromised and unlawfully exfiltrated due to the Data Breach.

         5.     The PII compromised in the Data Breach was exfiltrated by cyber-criminals and

remains in the hands of those cyber-criminals who target PII for its value to identity thieves.

         6.     As a result of the Data Breach, Plaintiff and Class Members, suffered concrete

injuries in fact including, but not limited to: (i) invasion of privacy; (ii) theft and publication of

their PII to the dark web; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss of

benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; (ix) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

         7.     The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect its client’s PII from a

foreseeable and preventable cyber-attack.

         8.     Defendant maintained, used, and shared the PII in a reckless manner. In particular,

the PII was used and transmitted by Defendant in a condition vulnerable to cyberattacks. Upon

information and belief, the mechanism of the cyberattack and potential for improper disclosure of



2
    See https://thecyberexpress.com/bianlian-ransomware-bbb-us-dermatology/
                                                  2
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Plaintiff’s and Class Members’ PII was a known risk to Defendant, and thus, Defendant was on

notice that failing to take steps necessary to secure the PII from those risks left that property in a

dangerous condition.

        9.      Defendant disregarded the rights of Plaintiff and Class Members by, inter alia,

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable measures

to ensure its data systems were protected against unauthorized intrusions; failing to take standard

and reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff and

Class Members notice of the Data Breach.

        10.     Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct because the PII that Defendant collected and maintained is now in the hands of

data thieves and has been released to the public on the dark web.

        11.     As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members must now

and in the future closely monitor their financial accounts to guard against identity theft.

        12.     Plaintiff and Class Members may also incur out of pocket costs, e.g., for purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        13.     Plaintiff brings this class action lawsuit on behalf of all those similarly situated to

address Defendant’s inadequate safeguarding of Class Members’ PII that it collected and

maintained, and for failing to provide timely and adequate notice to Plaintiff and other Class

Members that their information was stolen and released by cybercriminals in the Data Breach.




                                                  3
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        14.    Through this Complaint, Plaintiff seeks to remedy these harms on behalf of herself

and all similarly situated individuals whose PII was accessed and/or acquired during the Data

Breach.

        15.    Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.

                                 JURISDICTION AND VENUE

        16.    This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class,

and at least one member of the class is a citizen of a state different from Defendant, including the

Plaintiff.

        17.    This Court has personal jurisdiction over Defendant because its principal place of

business is in this District and the acts and omissions giving rise to Plaintiff's claims occurred in

and emanated from this District.

        18.    Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant's principal place

of business is in this District and the acts and omissions giving rise to Plaintiff's claims occurred

in and emanated from this District.

                                             PARTIES

        19.    Plaintiff Kim Roseberry is a resident and citizen of Glendale, Arizona. Ms.

Roseberry is a customer and former patient of Defendant.

        20.    Defendant U.S. Dermatology Partners is a private, for-profit company with its

principal place of business located at 5310 Harvest Hill Rd., Suite 130, Dallas, Texas 75230.

                                   FACTUAL ALLEGATIONS



                                                  4
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       Defendant’s Business

       21.     Defendant is one of the premier dermatology practices in the United States.

Defendant offers medical, surgical, and cosmetic dermatology services for all skin types. 3

       22.     Plaintiff and Class Members are current and former customers of Defendant.

       23.     In the course of the relationship between Defendant, Plaintiff and Class Members

provided their PII to Defendant.

       24.     Upon information and belief, in the course of collecting PII from Plaintiff and Class

Members, Defendant promised to provide confidentiality and adequate security for client data

through its applicable privacy policy and through other disclosures in compliance with statutory

privacy requirements. 4

       25.     Indeed, the Privacy Statement posted on Defendant's website provides that: “U.S.

Dermatology Partners respects your privacy and the security of your personal information. We are

committed to protecting your privacy through our compliance with this policy.” 5

       26.     Plaintiff and the Class Members, as former and current patients of Defendant, relied

on these promises and on this sophisticated business entity to keep their sensitive PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.

       The Data Breach

       27.     In June of 2024, ransomware gang, BianLian, claimed responsibility for accessing

and acquiring 300 GB of organization data, including Plaintiff’s and Class Members PII. 6 In fact,




3
  See https://www.usdermatologypartners.com/services/
4
  See https://www.usdermatologypartners.com/privacy-policy/
5
  Id.
6
  See https://thecyberexpress.com/bianlian-ransomware-bbb-us-dermatology/
                                                 5
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ransomware gang, BianLian, posted an alert on the dark web claiming responsibility for the Data

Breach. 7




         28.    However, upon information and belief, Defendant has yet to provide Plaintiff and

Class Members notification of the Data Breach.

         29.    Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed.

         30.    The attacker accessed and acquired files maintained by Defendant in a negligent

manner.

         31.    Defendant had obligations created by the FTC Act, contract, common law, and

industry standards to keep Plaintiff’s and Class Members’ PII confidential and to protect it from

unauthorized access and disclosure.

         Data Breaches Are Preventable

         32.    Defendant could have prevented this Data Breach by, among other things, properly

encrypting or otherwise protecting their equipment and computer files containing PII.

         33.    Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed.


7
    See https://www.breachsense.com/breaches/u-s-dermatology-partners-data-breach/
                                                 6
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       34.       As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 8

       35.       To prevent and detect cyber-attacks and/or ransomware attacks Defendant could

and should have implemented, as recommended by the United States Government, the following

measures:

             •   Implement an awareness and training program. Because end users are targets,
                 employees and individuals should be aware of the threat of ransomware and how it
                 is delivered.

             •   Enable strong spam filters to prevent phishing emails from reaching the end users
                 and authenticate inbound email using technologies like Sender Policy Framework
                 (SPF), Domain Message Authentication Reporting and Conformance (DMARC),
                 and DomainKeys Identified Mail (DKIM) to prevent email spoofing.

             •   Scan all incoming and outgoing emails to detect threats and filter executable files
                 from reaching end users.

             •   Configure firewalls to block access to known malicious IP addresses.

             •   Patch operating systems, software, and firmware on devices. Consider using a
                 centralized patch management system.

             •   Set anti-virus and anti-malware programs to conduct regular scans automatically.

             •   Manage the use of privileged accounts based on the principle of least privilege: no
                 users should be assigned administrative access unless absolutely needed; and those
                 with a need for administrator accounts should only use them when necessary.

             •   Configure access controls—including file, directory, and network share
                 permissions— with least privilege in mind. If a user only needs to read specific
                 files, the user should not have write access to those files, directories, or shares.

             •   Disable macro scripts from office files transmitted via email. Consider using Office
                 Viewer software to open Microsoft Office files transmitted via email instead of full
                 office suite applications.

             •   Implement Software Restriction Policies (SRP) or other controls to prevent

8
 How to Protect Your Networks from RANSOMWARE, at 3, available at:
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view
                                                  7
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                      programs from executing from common ransomware locations, such as temporary
                      folders supporting popular Internet browsers or compression/decompression
                      programs, including the AppData/LocalAppData folder.

                  •   Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                  •   Use application whitelisting, which only allows systems to execute programs
                      known and permitted by security policy.

                  •   Execute operating system environments or specific programs in a virtualized
                      environment.

                  •   Categorize data based on organizational value and implement physical and logical
                      separation of networks and data for different organizational units. 9

          36.         To prevent and detect cyber-attacks or ransomware attacks Defendant could and

should have implemented, as recommended by the Microsoft Threat Protection Intelligence Team,

the following measures:

                      Secure internet-facing assets
                            - Apply latest security updates
                            - Use threat and vulnerability management
                            - Perform regular audit; remove privileged credentials;

                      Thoroughly investigate and remediate alerts
                            - Prioritize and treat commodity malware infections as potential full
                               compromise;

                      Include IT Pros in security discussions
                            - Ensure collaboration among [security operations], [security admins],
                                and [information technology] admins to configure servers and other
                                endpoints securely;

                      Build credential hygiene
                             - Use [multifactor authentication] or [network level authentication] and
                                use strong, randomized, just-in-time local admin passwords;

                      Apply principle of least-privilege
                            - Monitor for adversarial activities
                            - Hunt for brute force attempts
                            - Monitor for cleanup of Event Logs
                            - Analyze logon events;

9
    Id. at 3-4.
                                                      8
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               Harden infrastructure
                    - Use Windows Defender Firewall
                    - Enable tamper protection
                    - Enable cloud-delivered protection
                    - Turn on attack surface reduction rules and [Antimalware Scan Interface]
                        for Office [Visual Basic for Applications]. 10

       37.     Given that Defendant was storing the PII of those who provided their information

to Defendant, it could and should have implemented all of the above measures to prevent and

detect cyberattacks.

       38.     The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the publication of the PII of thousands of individuals, including that of Plaintiff and Class

Members.

       Defendant Acquires, Collects, and Stores Plaintiff’s and Class Members’ PII

       39.     Defendant acquires, collects, and stores a massive amount of PII through its

provision of dermatology services.

       40.     By obtaining, collecting, and using Plaintiff’s and Class Members’ PII, Defendant

assumed legal and equitable duties and knew or should have known that it was responsible for

protecting Plaintiff’s and Class Members’ PII from disclosure.

       41.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII and would not have entrusted it to Defendant absent a promise to

safeguard that information.

       42.     Upon information and belief, in the course of collecting PII from Plaintiff and Class



10
   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at:
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/
                                                 9
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Members, Defendant promised to provide confidentiality and adequate security for consumer data

through its applicable privacy policy and through other disclosures in compliance with statutory

privacy requirements.

        43.    Plaintiff and the Class Members relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.

        Defendant Knew, Or Should Have Known of the Risk Because Companies In Possession
        of PII Are Particularly Susceptible to Cyber Attacks

        44.    In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendant knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

        45.    Indeed, cyber-attacks, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack.

        46.    Additionally, as companies became more dependent on computer systems to run

their business, 11 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need




11
  See Danny Brando, Implications of Cyber Risk for Financial Stability (May 12, 2022),
available at: https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-
for-financial-stability-20220512.html
                                                 10
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for adequate administrative, physical, and technical safeguards. 12

        47.    Defendant knew and understood unprotected or exposed PII in the custody of

institutions, like Defendant, is valuable and highly sought after by nefarious third parties seeking

to illegally monetize that PII through unauthorized access.

        48.    At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and of the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

        49.    Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

        50.    The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

        51.    The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen––particularly Social Security numbers––

fraudulent use of that information and damage to victims may continue for years.

        52.    Defendant knew, or should have known, the importance of safeguarding PII

entrusted to it by Plaintiff and Class Members, and of the foreseeable consequences if its data

security systems were breached. This includes the significant costs imposed on Plaintiff and Class



12
  See Dr. Suleyman Ozarslan, Key Threats and Cyber Risks Facing Financial Services and
Banking Firms in 2022 (March 24, 2022), available at: https://www.picussecurity.com/key-
threats-and-cyber-risks-facing-financial-services-and-banking-firms-in-2022
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Members as a result of a breach. Defendant failed, however, to take adequate cybersecurity

measures to prevent the Data Breach.

        Value of Personally Identifying Information

        53.    The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 13

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 14

        54.    The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. 15 For example, Personal Information can be sold at a price ranging from $40 to $200. 16

Criminals can also purchase access to entire company data breaches from $900 to $4,500. 17

        55.    For example, Social Security numbers are among the worst kind of PII to have

stolen because they may be put to a variety of fraudulent uses and are difficult for an individual to

change. The Social Security Administration stresses that the loss of an individual’s Social Security

number, as experienced by Plaintiff and Class Members, can lead to identity theft and extensive



13
   17 C.F.R. § 248.201 (2013).
14
   Id.
15
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/
16
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/
17
   https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/
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financial fraud:

        A dishonest person who has your Social Security number can use it to get other personal
        information about you. Identity thieves can use your number and your good credit to apply
        for more credit in your name. Then, they use the credit cards and don’t pay the bills, it
        damages your credit. You may not find out that someone is using your number until you’re
        turned down for credit, or you begin to get calls from unknown creditors demanding
        payment for items you never bought. Someone illegally using your Social Security number
        and assuming your identity can cause a lot of problems. 18

        56.    What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

        57.    Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.” 19

       58.     Based on the foregoing, the information stolen in the Data Breach is significantly

more valuable than the loss of, for example, credit card information in a retailer data breach

because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—Social Security numbers and names.

       59.     This data demands a much higher price on the black market. Martin Walter, senior



18
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf
19
   Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
hackers-has-millionsworrying-about-identity-theft
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director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 20

       60.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

       61.     The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for up to a
       year or more before being used to commit identity theft. Further, once stolen data have been
       sold or posted on the Web, fraudulent use of that information may continue for years. As a
       result, studies that attempt to measure the harm resulting from data breaches cannot
       necessarily rule out all future harm. 21

       62.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

       Defendant Failed to Comply with FTC Guidelines

       63.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-




20
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html
21
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf
                                                14
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making.

       64.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. These guidelines note

that businesses should protect the personal consumer information that they keep; properly dispose

of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems. 22

       65.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach. 23

       66.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       67.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15




22
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf
23
   Id.
                                                 15
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U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

         68.    These FTC enforcement actions include actions against technology service

institutions, like Defendant.

         69.    Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC

publications and orders described above also form part of the basis of Defendant's duty in this

regard.

         70.    Defendant failed to properly implement basic data security practices.

         71.    Defendant's failure to employ reasonable and appropriate measures to protect

against unauthorized access to consumers’ PII or to comply with applicable industry standards

constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

         72.    Upon information and belief, Defendant was at all times fully aware of its

obligation to protect the PII of Plaintiff and Class Members, Defendant was also aware of the

significant repercussions that would result from its failure to do so. Accordingly, Defendant's

conduct was particularly unreasonable given the nature and amount of PII it obtained and stored

and the foreseeable consequences of the immense damages that would result to Plaintiff and the

Class.

         Defendant Failed to Comply with Industry Standards

         73.    As noted above, experts studying cyber security routinely identify entities in

possession of PII as being particularly vulnerable to cyberattacks because of the value of the PII

which they collect and maintain.



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      74.         Several best practices have been identified that, at a minimum, should be

implemented by software institutions in possession of PII, like Defendant, including but not limited

to: educating all employees; strong passwords; multi-layer security, including firewalls, anti-virus,

and anti-malware software; encryption, making data unreadable without a key; multi-factor

authentication; backup data and limiting which employees can access sensitive data. Defendant

failed to follow these industry best practices, including a failure to implement multi-factor

authentication.

      75.         Other best cybersecurity practices that are standard for software institutions include

installing appropriate malware detection software; monitoring and limiting the network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches and routers; monitoring and protection of physical security systems; protection

against any possible communication system; training staff regarding critical points. Defendant

failed to follow these cybersecurity best practices, including failure to train staff.

      76.         Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

      77.         These foregoing frameworks are existing and applicable industry standards for

software institutions, and upon information and belief, Defendant failed to comply with at least

one––or all––of these accepted standards, thereby opening the door to the threat actor and causing

the Data Breach.



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       Common Injuries and Damages

       78.     As a result of Defendant's ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of PII ending up in the possession of criminals,

the risk of identity theft to the Plaintiff and Class Members has materialized and is imminent, and

Plaintiff and Class Members have all sustained actual injuries and damages, including: (i) invasion

of privacy; (ii) theft and publication of their PII to the dark web; (iii) lost or diminished value of

PII; (iv) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (vii) statutory

damages; (viii) nominal damages; and (ix) the continued and certainly increased risk to their PII,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII.

       Data Breaches Increase Victims’ Risk of Identity Theft

       79.     The unencrypted PII of Class Members will end up for sale on the dark web as that

is the modus operandi of hackers. Further, ransomware gang, LianBian, has already claimed

responsibility for stealing 300 GB of information from Defendant on the dark web.

       80.     Unencrypted PII may also fall into the hands of companies that will use the detailed

PII for targeted marketing without the approval of Plaintiff and Class Members. Simply put,

unauthorized individuals can easily access the PII of Plaintiff and Class Members.

       81.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the



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data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.

       82.     Plaintiff's and Class Members’ PII is of great value to hackers and cyber criminals,

and the data stolen in the Data Breach has been used and will continue to be used in a variety of

sordid ways for criminals to exploit Plaintiff and Class Members and to profit off their misfortune.

       83.     One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages. 24

       84.     With “Fullz” packages, cyber-criminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on individuals.

       85.     The development of “Fullz” packages means here that the stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff’s and Class Members’ phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the PII

that was exfiltrated in the Data Breach, criminals may still easily create a Fullz package and sell it




24
   “Fullz” is fraudster speak for data that includes the information of the victim, including, but
not limited to, the name, address, credit card information, social security number, date of birth,
and more. As a rule of thumb, the more information you have on a victim, the more money that
can be made off of those credentials. Fullz are usually pricier than standard credit card
credentials, commanding up to $100 per record (or more) on the dark web. Fullz can be cashed
out (turning credentials into money) in various ways, including performing bank transactions
over the phone with the required authentication details in-hand. Even “dead Fullz,” which are
Fullz credentials associated with credit cards that are no longer valid, can still be used for
numerous purposes, including tax refund scams, ordering credit cards on behalf of the victim, or
opening a “mule account” (an account that will accept a fraudulent money transfer from a
compromised account) without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records
for Sale in Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18,
2014), https://krebsonsecurity.com/2014/09/medical-records-for-sale-in-underground-stolen-
from-texas-life-insurance-firm/
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at a higher price to unscrupulous operators and criminals (such as illegal and scam telemarketers)

over and over.

      86.        The existence and prevalence of “Fullz” packages means that the PII stolen from

the data breach can easily be linked to the unregulated data (like insurance information) of Plaintiff

and the other Class Members.

      87.        Thus, even if certain information (such as insurance information) was not stolen in

the data breach, criminals can still easily create a comprehensive “Fullz” package.

      88.        Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

      Loss of Time to Mitigate Risk of Identity Theft & Fraud

      89.        As a result of the recognized risk of identity theft, when a Data Breach occurs, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft or fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

      90.        Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must remain vigilant for fraud and identity theft by reviewing account statements and

credit reports, place a fraud alert or security freeze on credit files, report suspicious activity, and

contact authorities.

      91.        Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as researching and verifying the legitimacy of the Data

Breach, contacting credit bureaus to place freezes on their accounts, and signing up for the credit

monitoring and identity theft protection services offered by Defendant.



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       92.      Plaintiff's mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO Report”) in

which it noted that victims of identity theft will face “substantial costs and time to repair the

damage to their good name and credit record.” 25

       93.      Plaintiff's mitigation efforts are also consistent with the steps that FTC recommends

that data breach victims take several steps to protect their personal and financial information after

a data breach, including: contacting one of the credit bureaus to place a fraud alert (consider an

extended fraud alert that lasts for seven years if someone steals their identity), reviewing their

credit reports, contacting companies to remove fraudulent charges from their accounts, placing a

credit freeze on their credit, and correcting their credit reports. 26

       94.      And for those Class Members who experience actual identity theft and fraud, the

United States Government Accountability Office released a report in 2007 regarding data breaches

(“GAO Report”) in which it noted that victims of identity theft will face “substantial costs and

time to repair the damage to their good name and credit record.”

       Diminution of Value of PII

       95.      PII is a valuable property right. 27 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.



25
   United States Government Accountability Office, GAO-07-737, Personal Information: Data
Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
Extent Is Unknown (June 2007), https://www.gao.gov/products/gao-07-737
26
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps
27
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June
2007, https://www.gao.gov/new.items/d07737.pdf (“GAO Report”).
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        96.     Sensitive PII can sell for as much as $363 per record according to the Infosec

Institute. 28

        97.     An active and robust legitimate marketplace for PII also exists. In 2019, the data

brokering industry was worth roughly $200 billion. 29

        98.     In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers. 30

        99.     As a result of the Data Breach, Plaintiff's and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiff or Class Members for their property, resulting in an economic loss.

Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby causing

additional loss of value.

        100.    At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, and of the foreseeable

consequences that would occur if Defendant's data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.



28
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
29
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
30
   See David Lazarus, Column: Shadowy data brokers make the most of their invisibility cloak,
Los Angeles Times (Nov. 5, 2019), available at: https://www.latimes.com/business/story/2019-
11-05/column-data-brokers
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         101.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         102.   Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

         103.   Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant's network, amounting to hundreds of thousands

individuals’ detailed personal information and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

         104.   The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant's failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

         Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

         105.   Given the type of targeted attack in this case, sophisticated criminal activity, the

type of PII involved, entire batches of stolen information have been placed, or will be placed, on

the black market/dark web for sale and purchase by criminals intending to utilize the PII for

identity theft crimes –e.g., opening bank accounts in the victims’ names to make purchases or to

launder money; file false tax returns; take out loans or lines of credit; or file false unemployment

claims.

         106.   Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her PII was used to file unemployment benefits

until law enforcement notifies the individual’s employer of the suspected fraud. Fraudulent tax

returns are typically discovered only when an individual’s authentic tax return is rejected.


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       107.     Consequently, Plaintiff and Class Members are at an increased risk of fraud and

identity theft for many years into the future.

       108.     The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendant's Data Breach.

       Plaintiff Kim Roseberry’s Experience

       109.     Defendant obtained Plaintiff Roseberry’s PII as a current patient of Defendant and

in connection with providing her dermatology services.

       110.     At the time of the Data Breach, Defendant retained Plaintiff’s PII in its system.

       111.     Plaintiff Roseberry is very careful about sharing her sensitive PII. Plaintiff stores

any documents containing her PII in a safe and secure location. She has never knowingly

transmitted unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff

would not have entrusted her PII to Defendant had she known of Defendant’s lax data security

policies.

       112.     As a result of the Data Breach, Plaintiff made reasonable efforts to mitigate the

impact of the Data Breach, including researching and verifying the legitimacy of the Data Breach.

Plaintiff has spent significant time dealing with the Data Breach₋₋valuable time Plaintiff otherwise

would have spent on other activities, including but not limited to work and/or recreation. This time

has been lost forever and cannot be recaptured.

       113.     Plaintiff suffered actual injury from having her PII compromised as a result of the

Data Breach including, but not limited to: (i) invasion of privacy; (ii) actual misuse in the form of

identity theft and fraud; (iii) theft and publication of her PII to the dark web; (iv) lost or diminished

value of PII; (v) lost time and opportunity costs associated with attempting to mitigate the actual



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consequences of the Data Breach; (vi) loss of benefit of the bargain; (vii) lost opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (viii) statutory

damages; (ix) nominal damages; and (x) the continued and certainly increased risk to her PII,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII.

       114.    Plaintiff Roseberry has experienced actual misuse of her PII. Specifically, after the

Data Breach, on September 21, 2024, a fraudulent charge from Amazon for $30.56 was discovered

on her financial accounts. Plaintiff Roseberry has disputed the charge as fraudulent as it was not

made or initiated by her. Further, in or around September of 2024, a fraudulent charge was

attempted for $1 to her financial account.

       115.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendant has still not fully provided notice or informed her of

key details about the Data Breach’s occurrence.

       116.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       117.    As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

       118.    Plaintiff has a continuing interest in ensuring that her PII, which, upon information

and belief, remains backed up in Defendant’s possession, is protected and safeguarded from future

breaches.

                                    CLASS ALLEGATIONS



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      119.     Plaintiff brings this nationwide class action on behalf of herself and on behalf of all

others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

Civil Procedure.

      120.     The Class that Plaintiff seeks to represent is defined as follows:

      Nationwide Class
      All individuals residing in the United States whose PII was accessed and/or acquired by an
      unauthorized party as a result of the data breach experienced by Defendant in June 2024
      (the “Class”).

      121.     Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant's parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

      122.     Plaintiff reserves the right to amend the definitions of the Class or add a Class or

Subclass if further information and discovery indicate that the definitions of the Class should be

narrowed, expanded, or otherwise modified.

      123.     Numerosity: The members of the Class are so numerous that joinder of all members

is impracticable, if not completely impossible. The Class is apparently identifiable within

Defendant's records, and Defendant has already identified these individuals (as evidenced by

sending them breach notification letters). Upon information and belief, the Class includes millions

of individuals across the United States.

      124.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class that predominate over questions which may affect

individual Class members, including the following:

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      i. Whether and to what extent Defendant had a duty to protect the PII of Plaintiff and

          Class Members;

      ii. Whether Defendant had respective duties not to disclose the PII of Plaintiff and

          Class Members to unauthorized third parties;

     iii. Whether Defendant had respective duties not to use the PII of Plaintiff and Class

          Members for non-business purposes;

     iv. Whether Defendant failed to adequately safeguard the PII of Plaintiff and Class

          Members;

      v. Whether and when Defendant actually learned of the Data Breach;

     vi. Whether Defendant was negligent in failing to notify Plaintiff and Class Members

          that their PII had been compromised;

     vii. Whether Plaintiff’s PII is for sale on the dark web;

    viii. Whether Defendant violated the law by failing to promptly notify Plaintiff and

          Class Members that their PII had been compromised;

     ix. Whether Defendant failed to implement and maintain reasonable security

          procedures and practices appropriate to the nature and scope of the information

          compromised in the Data Breach;

      x. Whether Defendant adequately addressed and fixed the vulnerabilities which

          permitted the Data Breach to occur;

     xi. Whether Plaintiff and Class Members are entitled to actual damages, statutory

          damages, and/or nominal damages as a result of Defendant's wrongful conduct;

     xii. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

          imminent and currently ongoing harm faced as a result of the Data Breach.



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       125.    Typicality: Plaintiff's claims are typical of those of the other members of the Class

because Plaintiff, like every other Class Member, was exposed to virtually identical conduct and

now suffers from the same violations of the law as each other member of the Class.

       126.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant's policies challenged herein apply to and affect Class Members

uniformly and Plaintiff's challenges of these policies hinges on Defendant's conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       127.    Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the Class Members in that she has no disabling conflicts of interest that would be antagonistic to

those of the other Class Members. Plaintiff seeks no relief that is antagonistic or adverse to the

Class Members and the infringement of the rights and the damages she has suffered are typical of

other Class Members. Plaintiff has retained counsel experienced in complex class action and data

breach litigation, and Plaintiff intends to prosecute this action vigorously.

       128.    Superiority and Manageability: The class litigation is an appropriate method for fair

and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually



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afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

        129.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class Member with superior financial and legal resources;

the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiff was exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the causes

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

        130.    The litigation of the claims brought herein is manageable. Defendant's uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrate that there would be no significant manageability problems with prosecuting

this lawsuit as a class action.

        131.    Adequate notice can be given to Class Members directly using information

maintained in Defendant's records.

        132.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, additional PII will be released to the dark web,

Defendant may continue to refuse to provide proper notification to Class Members regarding the

Data Breach, and Defendant may continue to act unlawfully as set forth in this Complaint.



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       133.    Further, Defendant has acted on grounds that apply generally to the Class as a

whole, so that class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a class-wide basis.

       134.    Likewise, particular issues under Rule 42(d)(1) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

            i. Whether Defendant failed to timely notify the Plaintiff and the class of the Data

               Breach;

           ii. Whether Defendant owed a legal duty to Plaintiff and the Class to exercise due care

               in collecting, storing, and safeguarding their PII;

           iii. Whether Defendant's security measures to protect their data systems were

               reasonable in light of best practices recommended by data security experts;

           iv. Whether Defendant's failure to institute adequate protective security measures

               amounted to negligence;

           v. Whether Defendant failed to take commercially reasonable steps to safeguard

               consumer PII; and

           vi. Whether adherence to FTC data security recommendations, and measures

               recommended by data security experts would have reasonably prevented the Data

               Breach.

                                     CAUSES OF ACTION

                                           COUNT 1
                                          Negligence
                              (On Behalf of Plaintiff and the Class)



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        135.    Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein.

        136.    Defendant gathered and stored the PII of Plaintiff and Class Members as part of its

business of offering dermatology services.

        137.    Plaintiff and Class Members entrusted Defendant with their PII with the

understanding that Defendant would safeguard their information.

        138.    Defendant had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

        139.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and safeguard their computer property—and Class Members’ PII held within it—

to prevent disclosure of the information, and to safeguard the information from theft. Defendant’s

duty included a responsibility to implement processes by which they could detect a breach of its

security systems in a reasonably expeditious period of time and to give prompt notice to those

affected in the case of a data breach.

        140.    Defendant had a duty to employ reasonable security measures under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

        141.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks adequately protected the PII.

        142.    Defendant's duty of care to use reasonable security measures arose as a result of the



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special relationship that existed between Defendant and Plaintiff and Class Members. That special

relationship arose because Plaintiff and the Class entrusted Defendant with their confidential PII.

           143.   Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential PII.

           144.   Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

           145.   Defendant also had a duty to exercise appropriate clearinghouse practices to remove

PII it was no longer required to retain pursuant to regulations.

           146.   Moreover, Defendant had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach. Defendant breached that duty by failing to provide Plaintiff and Class

Members any notification that it had suffered a Data Breach.

           147.   Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendant’s possession might have been compromised, how it was

compromised, precisely the types of data that were compromised and when, and whether additional

PII is published to the dark web. Such notice was necessary to allow Plaintiff and the Class to take

steps to prevent, mitigate, and repair any identity theft and the fraudulent use of their PII by third

parties.

           148.   Defendant breached its duties, pursuant to the FTC Act and other applicable

standards, and thus was negligent, by failing to use reasonable measures to protect Class Members’

PII. The specific negligent acts and omissions committed by Defendant include, but are not limited

to, the following:

              i. Failing to adopt, implement, and maintain adequate security measures to safeguard



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                 Class Members’ PII;

           ii. Failing to provide Plaintiff and Class Members notice of the Data Breach;

          iii. Failing to adequately monitor the security of their networks and systems;

          iv. Allowing unauthorized access to Class Members’ PII;

           v. Failing to detect in a timely manner that Class Members’ PII had been

                 compromised;

          vi. Failing to remove PII it was no longer required to retain pursuant to regulations;

          vii. Failing to timely and adequately notify Class Members about the Data Breach’s

                 occurrence and scope, so that they could take appropriate steps to mitigate the

                 potential for identity theft and other damages; and

         viii. Failing to secure its stand-alone personal computers, such as the reception desk

                 computers, even after discovery of the data breach.

       149.      Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of the immense damages that would result to Plaintiff

and the Class.

       150.      Plaintiff and Class Members were within the class of persons the Federal Trade

Commission Act was intended to protect and the type of harm that resulted from the Data Breach

was the type of harm this statute was intended to guard against.

       151.      Defendant’s violation of Section 5 of the FTC Act constitutes negligence.

       152.      The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,



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caused the same harm as that suffered by Plaintiff and the Class.

       153.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       154.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

software services industry.

       155.    Defendant has full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       156.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of providing

adequate security of that PII, and the necessity for encrypting PII stored on Defendant’s systems

or transmitted through third party systems.

       157.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

       158.    Defendant was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       159.    Defendant’s duty extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement



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(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       160.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Class, the PII of Plaintiff and the Class would not have been compromised.

       161.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and accessed

as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such PII

by adopting, implementing, and maintaining appropriate security measures.

       162.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) theft

of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs associated

with attempting to mitigate the actual consequences of the Data Breach; (v) loss of benefit of the

bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual consequences

of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and

certainly increased risk to their PII, which: (a) remains unencrypted and available for unauthorized

third parties to access and abuse; and (b) remains backed up in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII.

       163.    Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in its continued



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possession.

        164.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        165.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                          COUNT II
                                      Negligence Per Se
                              (On Behalf of Plaintiff and the Class)

        166.    Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein.

        167.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff's and Class Members’ PII.

        168.    Defendant breached its duties to Plaintiff and Class Members under the FTCA by

failing to provide fair, reasonable, or adequate computer systems and data security practices to

safeguard Plaintiff's and Class Members’ PII.

        169.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

        170.    Plaintiff and Class Members are within the class of persons the FTC Act was

intended to protect and the harm to Plaintiff and Class Members resulting from the Data Breach

was the type of harm against which the statutes were intended to prevent.

        171.    But for Defendant’s wrongful and negligent breach of their duties owed to Plaintiff



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and Class Members, Plaintiff and Class Members would not have been injured.

        172.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

the failure to meet its duties, and that Defendant’s breach would cause Plaintiff and Class Members

to experience the foreseeable harms associated with the exposure of their PII.

        173.    Plaintiff and Class Members were damaged as a result of Defendant's negligence.

        174.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                          COUNT III
                                  Breach of Implied Contract
                              (On Behalf of Plaintiff and the Class)

        175.    Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein.

        176.    Plaintiff and the Class entrusted their PII to Defendant. In so doing, Plaintiff and

the Class entered into implied contracts with Defendant by which Defendant agreed to safeguard

and protect such information, to keep such information secure and confidential, and to timely and

accurately notify Plaintiff and the Class if their data had been breached and compromised or stolen.

        177.    In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations and were consistent with industry standards.

        178.    Implicit in the agreement between Plaintiff and Class Members and the Defendant

to provide PII, was the latter’s obligation to: (a) use such PII for business purposes only, (b) take

reasonable steps to safeguard that PII, (c) prevent unauthorized disclosures of the PII, (d) provide



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Plaintiff and Class Members with prompt and sufficient notice of any and all unauthorized access

and/or theft of their PII, (e) reasonably safeguard and protect the PII of Plaintiff and Class

Members from unauthorized disclosure or uses, (f) retain the PII only under conditions that kept

such information secure and confidential.

          179.   The mutual understanding and intent of Plaintiff and Class Members on the one

hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

          180.   Defendant solicited, offered, and invited Plaintiff and Class Members to provide

their PII as part of Defendant’s regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their PII to Defendant.

          181.   In accepting the PII of Plaintiff and Class Members, Defendant understood and

agreed that it was required to reasonably safeguard the PII from unauthorized access or disclosure.

          182.   On information and belief, at all relevant times Defendant promulgated, adopted,

and implemented written privacy policies whereby it expressly promised Plaintiff and Class

Members that it would only disclose PII under certain circumstances, none of which relate to the

Data Breach.

          183.   On information and belief, Defendant further promised to comply with industry

standards and to make sure that Plaintiff's and Class Members’ PII would remain protected.

          184.   Plaintiff and Class Members would not have entrusted their PII to Defendant in the

absence of the implied contract between them and Defendant to keep their information reasonably

secure.

          185.   Plaintiff and Class Members would not have entrusted their PII to Defendant in the

absence of their implied promise to monitor their computer systems and networks to ensure that it

adopted reasonable data security measures.



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          186.   Plaintiff and Class Members fully and adequately performed their obligations under

the implied contracts with Defendant.

          187.   Defendant breached the implied contracts it made with Plaintiff and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiff and the Class once the relationship ended, and by failing to provide accurate notice to

them that personal information was compromised as a result of the Data Breach.

          188.   As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and Class Members sustained damages, as alleged herein, including the loss of the benefit

of the bargain. Specifically, Plaintiff and Class Members were damaged as a result of Defendant's

breach.

          189.   Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

          190.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                           COUNT IV
                                    UNJUST ENRICHMENT
                               (On Behalf of Plaintiff and the Class)

          191.   Plaintiff re-alleges and incorporates by reference all preceding allegations, as if

fully set forth herein.

          192.   Plaintiff brings this Count in the alternative to the breach of implied contract count

above.

          193.   Plaintiff and Class Members conferred a monetary benefit on Defendant.



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Specifically, Defendant and/or its agents were paid for Defendant’s services and in so doing,

Plaintiff and Class Members also provided Defendant with their PII. In exchange, Plaintiff and

Class Members should have received from Defendant the services that were the subject of the

transaction and should have had their PII protected with adequate data security.

       194.    Defendant knew that Plaintiff and Class Members conferred a benefit upon it and

has accepted and retained that benefit by accepting and retaining the PII entrusted to it. Defendant

profited from Plaintiff’s retained data and used Plaintiff’s and Class Members’ PII for business

purposes.

       195.    Defendant failed to secure Plaintiff’s and Class Members’ PII and, therefore, did

not fully compensate Plaintiff or Class Members for the value that their PII provided.

       196.    Defendant acquired the PII through inequitable record retention as it failed to

investigate and/or disclose the inadequate data security practices previously alleged.

       197.    If Plaintiff and Class Members had known that Defendant would not use adequate

data security practices, procedures, and protocols to adequately monitor, supervise, and secure

their PII, they would not have entrusted their PII to Defendant.

       198.    Plaintiff and Class Members have no adequate remedy at law.

       199.    Under the circumstances, it would be unjust for Defendant to be permitted to retain

any of the benefits that Plaintiff and Class Members conferred upon it.

       200.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss of

benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the actual



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consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       201.    Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct. This can be accomplished by

establishing a constructive trust from which the Plaintiff and Class Members may seek restitution

or compensation.

       202.    Plaintiff and Class Members may not have an adequate remedy at law against

Defendant, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendant and that the Court grants the following:

       A. For an Order certifying the Class, and appointing Plaintiff and her Counsel to represent

           the Class;

       B. For equitable relief enjoining Defendant from engaging in the wrongful conduct

           complained of herein pertaining to the misuse and/or disclosure of the PII of Plaintiff

           and Class Members;

       C. For injunctive relief requested by Plaintiff, including but not limited to, injunctive and

           other equitable relief as is necessary to protect the interests of Plaintiff and Class



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      Members, including but not limited to an order:

                 i. prohibiting Defendant from engaging in the wrongful and unlawful acts

                    described herein;

                ii. requiring Defendant to provide Plaintiff and the Class Members full and

                    adequate notice of the Data Breach and the details surrounding the Data

                    Breach;

                iii. requiring Defendant to protect, including through encryption, all data

                    collected through the course of its business in accordance with all

                    applicable regulations, industry standards, and federal, state or local

                    laws;

                iv. requiring Defendant to delete, destroy, and purge the personal

                    identifying information of Plaintiff and Class Members unless

                    Defendant can provide to the Court reasonable justification for the

                    retention and use of such information when weighed against the privacy

                    interests of Plaintiff and Class Members;

                 v. requiring Defendant to provide out-of-pocket expenses associated with

                    the prevention, detection, and recovery from identity theft, tax fraud,

                    and/or unauthorized use of their PII for Plaintiff’s and Class Members’

                    respective lifetimes;

                vi. requiring Defendant to implement and maintain a comprehensive

                    Information Security Program designed to protect the confidentiality

                    and integrity of the PII of Plaintiff and Class Members;

               vii. prohibiting Defendant from maintaining the PII of Plaintiff and Class



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                  Members on a cloud-based database;

             viii. requiring Defendant to engage independent third-party security

                  auditors/penetration testers as well as internal security personnel to

                  conduct testing, including simulated attacks, penetration tests, and

                  audits on Defendant’s systems on a periodic basis, and ordering

                  Defendant to promptly correct any problems or issues detected by such

                  third-party security auditors;

              ix. requiring Defendant to engage independent third-party security auditors

                  and internal personnel to run automated security monitoring;

               x. requiring Defendant to audit, test, and train its security personnel

                  regarding any new or modified procedures;

              xi. requiring Defendant to segment data by, among other things, creating

                  firewalls and controls so that if one area of Defendant’s network is

                  compromised, hackers cannot gain access to portions of Defendant’s

                  systems;

             xii. requiring Defendant to conduct regular database scanning and securing

                  checks;

             xiii. requiring Defendant to establish an information security training

                  program that includes at least annual information security training for

                  all employees, with additional training to be provided as appropriate

                  based upon the employees’ respective responsibilities with handling

                  personal identifying information, as well as protecting the personal

                  identifying information of Plaintiff and Class Members;



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             xiv. requiring Defendant to routinely and continually conduct internal

                  training and education, and on an annual basis to inform internal

                  security personnel how to identify and contain a breach when it occurs

                  and what to do in response to a breach;

              xv. requiring Defendant to implement a system of tests to assess its

                  respective employees’ knowledge of the education programs discussed

                  in the preceding subparagraphs, as well as randomly and periodically

                  testing employees’ compliance with Defendant’s policies, programs,

                  and systems for protecting personal identifying information;

             xvi. requiring Defendant to implement, maintain, regularly review, and

                  revise as necessary a threat management program designed to

                  appropriately monitor Defendant’s information networks for threats,

                  both internal and external, and assess whether monitoring tools are

                  appropriately configured, tested, and updated;

            xvii. requiring Defendant to meaningfully educate all Class Members about

                  the threats that they face as a result of the loss of their confidential

                  personal identifying information to third parties, as well as the steps

                  affected individuals must take to protect themselves;

            xviii. requiring Defendant to implement logging and monitoring programs

                  sufficient to track traffic to and from Defendant’s servers; and

             xix. for a period of 10 years, appointing a qualified and independent third-

                  party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                  to evaluate Defendant’s compliance with the terms of the Court’s final



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                         judgment, to provide such report to the Court and to counsel for the

                         class, and to report any deficiencies with compliance of the Court’s final

                         judgment;

      D.     For an award of damages, including actual, nominal, statutory, consequential, and

             punitive damages, as allowed by law in an amount to be determined;

      E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

      F.     For prejudgment interest on all amounts awarded; and

      G.     Such other and further relief as this Court may deem just and proper.

                                 JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all claims so triable.

Dated: September 30, 2024                    Respectfully submitted,



                                             /s/ William B. Federman
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